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 6
 7
                             UNITED STATES DISTRICT COURT
 8
                            CENTRAL DISTRICT OF CALIFORNIA
 9
10   MICHAEL MOODY, an individual,) Case No.: 2: 09-cv-04705 PSG (CWx)
11                                )
                Plaintiff,        ) [Proposed] Order
12                                )
13   v.                           )
                                  )
14
     NCO FINANCIAL SYSTEMS, INC.; )
15   and CAPITAL ONE BANK (USA),  )
16
     N.A.; and DOES 1 through 10  )
     inclusive,                   )
17                                )
18               Defendants.      )
                                  )
19
20
21                                                 ORDER
22        Pursuant to the stipulation of the parties, this action is dismissed with prejudice.
23
24   IT IS SO ORDERED
25
             December 9, 2009
     DATED: ___________________                   BY: _________________________________
26
27                                                        Hon. Philip S. Gutierrez
28


                                                    1
                                               [Proposed] Order
